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                      IN T H E UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


 A Y E S H A J E N K I N S , O N B E H A L F OF
 HERSELF A N D A L L OTHERS
 SIMILARLY SITUATED,

               Plaintiff,
                                                  CIVIL ACTION FILE
 V.
                                                  N O . l:12-cv-02452-CAP
 T H E U N I V E R S I T Y OF PHOENIX,
 INC.,

               Defendant.



       XXXXXXXXXXXR D E R APPROVING S E T T L E M E N T A G R E E M E N T
      [FROPOSEO
                AND DISMISSING C A S E W I T H PREJUDICE

       This case involves claims under the Fair Labor Standards Act, 29 U . S . C §

201, et seq. This matter is before the Court upon the Joint Motion for Approval of

Settlement Agreement A n d For Order O f Dismissal With Prejudice ("Joint

Motion") of the parties for the approval of their compromise and settlement o f this

action.

       The Court acknowledges that this Order is a judicial approval of a

reasonable compromise, not a finding, conclusion, or reflection of any admission

of a violation of the Fair Labor Standards Act, willful, intentional, or otherwise.

The Court has reviewed the Parties' Joint Motion and the draft Settlement

Agreement submitted under seal. The Court is of the opinion that there is a bona
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fide dispute over application of the relevant provisions of the Fair Labor Standards

Act, 29 U . S . C . § 201,   seq. In light of this legitimate dispute, the Court is of the

opinion that the Settlement Agreement reflect a fair and reasonable resolution of

this bona fide dispute. Consequently, the Court O R D E R S as follows:

       1.      The Court G R A N T S the parties' Joint Motion.

       2.      The Court A P P R O V E S the form of the Settlement Agreement and

directs that the proposed Settlement Agreement be retained "under seal" to protect

Defendant's confidentiality concerns.

       3.      The Court A P P R O V E S the monetary distribution as to Plaintiff and

P l a i n t i f f s counsel as described in the Settlement Agreement and O R D E R S

Defendant to make payments accordingly.

       4.      This case is hereby D I S M I S S E D W I T H P R E J U D I C E with each party

to bear her or its own expenses and attorneys' fees as provided in the Settlement

Agreement.

       5.      The Court R E T A I N S J U R I S D I C T I O N over this matter for the

purposes of enforcing the terms of the Parties' Settlement Agreement.

       D O N E and O R D E R E D this 2nd      day of      January                 3
                                                                              , 201_.




                                    /s/Charles A. Pannell, Jr.
                                    Charles Pannell
                                    UNITED STATES DISTRICT J U D G E


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